Case 2:22-cv-03941-ES-JBC Document 19-12 Filed 07/22/22 Page 1 of 2 PageID: 503




 KASOWITZ BENSON TORRES LLP
 1633 Broadway
 New York, NY 10019
 Phone: (212) 506-1700
 Fax: (212) 506-1800

 Attorneys for Defendants

 UNITED STATES DISTRICT COURT FOR THE
 DISTRICT OF NEW JERSEY
 ----------------------------------------------------- x
                                                       :
 LEGAL BAY LLC,                                        :
                                                       :
                              Plaintiff,               : Case No. 2:22-cv-03941-ES-JBC
                                                       :
                  - against -                          : Removed from the Superior Court
                                                       : of the State of New Jersey, Essex
 MUSTANG FUNDING, LLC, MUSTANG : County – Chancery Division,
 SPECIALTY FUNDING I, LLC,                             : Docket No. (ESX-C-000086-22)
 MUSTANG SPECIALTY FUNDING II, :
 LLC, JAMES BELTZ, and KEVIN                           :
 CAVANAUGH,                                            :
                                                       :
                                Defendants.            :
 ----------------------------------------------------- x
                             CERTIFICATE OF SERVICE

        I, Christian T. Becker, hereby certify that, on July 22, 2022, I caused a true and

 correct copy of Defendants’ Motion to Dismiss the Complaint, comprising a notice of

 motion, a memorandum of law, the Declaration of Christian T. Becker and

 accompanying exhibits, to be served upon all parties to this action, via the Court’s

 ECF system.
Case 2:22-cv-03941-ES-JBC Document 19-12 Filed 07/22/22 Page 2 of 2 PageID: 504




 Dated:     July 22, 2022
            New York, New York
                                      KASOWITZ BENSON TORRES LLP

                                      By: /s/ Christian T. Becker
                                          Christian T. Becker

                                          Attorney for Defendants




                                      2
